Case 2:08-cr-00043-JLQ   ECF No. 64   filed 09/18/08   PageID.280 Page 1 of 6
Case 2:08-cr-00043-JLQ   ECF No. 64   filed 09/18/08   PageID.281 Page 2 of 6
Case 2:08-cr-00043-JLQ   ECF No. 64   filed 09/18/08   PageID.282 Page 3 of 6
Case 2:08-cr-00043-JLQ   ECF No. 64   filed 09/18/08   PageID.283 Page 4 of 6
Case 2:08-cr-00043-JLQ   ECF No. 64   filed 09/18/08   PageID.284 Page 5 of 6
Case 2:08-cr-00043-JLQ   ECF No. 64   filed 09/18/08   PageID.285 Page 6 of 6
